                                              UNITED STATES DISTRICT COURT
                                            FOR THE MIDDLE DISTRICT OF FLORIDA

                                                        JACKSONVILLE DIVISION


UNITED STATES OF AMERICA,                                             : Docket No.
                                                                      : 3:18-cr-89 -J-34 JRK
                                                                      :
VS.                                                                   :
                                                                      :
                                                                      :
KATRINA BROWN ET AL,                                                  :
                                                                      :
                                        Defendant.                    : JANUARY 14, 2019
                                                                      :


                    DEFENDANT’S MOTION TO APPOINT ADDITIONAL COUNSEL



             The Defendant, Katrina Brown, and her counsel, Richard Landes, Esq., respectfully

submit this motion to have the Court appoint an additional CJA Panel lawyer to her case. This

matter is scheduled for a pre-trial conference on January 17, 2019.

             I was appointed to represent Ms. Brown on January 7, 2019. This is a large, complex,

multifaceted case alleging various schemes to defraud. The 38 count Indictment runs 58 pages

long. There are many hundreds of pages of Grand Jury testimony, numerous witnesses,

hundreds of exhibits and what I have learned will be some 31,602 pages of documents. In

addition, there are hundreds of Ms. Brown's emails that the Government has informed me they

will turn over in addition to the these documents.

             My initial analysis reveals many working parts to this case – three sources of proceeds

flowing to four separate corporations, hundreds of invoices, hundreds of checks flowing through

each of these corporations and allegations of a kickback scheme with others outside of the

fed.motion.brown.addl.counsel.01.2019.doc 86718-00000
January 14, 2019 4:39 PM
corporate entities. There are voluminous and cumbersome loan documents and detailed

contracts – between the SBA, Bizcapital (the lender), KJB Specialties (the barbeque sauce

business) and the COJ Northwest Jacksonville Economic development Fund – that all must be

reviewed. There are valid defenses to these charges and a defense case must be developed,

witnesses interviewed and the like. Cross examinations for the many Government witnesses

must also be prepared.

             Ms. Brown was indicted on May 23, 2018 – nearly eight months ago – and it's fair to say

that the two Assistant United States Attorneys that have been assigned to this case were

investigating and presenting this case to the Grand Jury for six months or more prior Ms.

Brown's Indictment. I have not had the benefit of preparing or developing this case for a year or

more as the Government has, and over the past week have come to realize the enormity of

reresenting Ms. Brown alone. As I also have a private practice to attend, it is impossible for me

to dedicate the time, care and attention that this matter requires on my own, unless I had six or

more months to prepare for trial. And if I were required to try this case in a shorter period of

time, I would be rendering ineffective counsel to Ms. Brown.

             As such, I request, in all fairness, that the Court appoint a second CJA lawyer to this case,

so that we can split the workload, get up to speed more quickly and try this case together. This

way, Ms. Brown would be assured of getting the best representation, without an unreasonably

long adjounrnment. Otherwise, I do not feel that I could adequately and competently represent

Ms. Brown.



             WHEREFORE, it is respectfully requested that this Court appoint a second CJA panel

lawyer to assist and work equally with me in representing Ms. Brown.



fed.motion.brown.addl.counsel.01.2019.doc 86718-00000
January 14, 2019 4:39 PM
                                                                        Respectfully submitted,


                                                                        s/Richard Landes

                                                                        Richard Landes, Esq.
                                                                        Bar #71390
                                                                        Attorney for Katrina Brown
                                                                        736 2nd. St N
                                                                        Jacksonville Beach, FL 32250
                                                                        rjlandes@gmail.com
                                                                        904 343- 4556



                                                        CERTIFICATION


I HEREBY CERTIFY that the foregoing motion was electronically filed with the Clerk of the
Court using the CM/ECF system which will send a notice of electronic filing to the United States
Attorney's Office.


                                                                        s/Richard Landes

                                                                        Richard Landes, Esq.




fed.motion.brown.addl.counsel.01.2019.doc 86718-00000
January 14, 2019 4:39 PM
